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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


DON RUPPEL, individually and on behalf of all others
similarly situated,

                              Plaintiff,                    Civil Action No. 16-cv-02444-KMK

       v.

CONSUMERS UNION OF UNITED STATES, INC.,

                              Defendant.



         NOTICE OF MOTION FOR ATTORNEYS’ FEES, COSTS, EXPENSES,
                         AND INCENTIVE AWARD

TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

       PLEASE TAKE NOTICE that on November 30, 2018 at 11:00 a.m. before the

Honorable Kenneth M. Karas, United States District Judge for the Southern District of New

York, 300 Quarropas Street, White Plains, New York 10601, Plaintiff Don Ruppel, by and

through Class Counsel, will move and hereby does move for an order (1) approving the payment

of attorneys’ fees, costs, and expenses in the amount of one-third of the settlement fund,

(2) granting Mr. Ruppel an incentive award of $7,500 in recognition of his efforts on behalf of

the class, and (3) awarding such other and further relief as the Court deems reasonable and just.

       PLEASE TAKE FURTHER NOTICE that, in support of the motion, Plaintiff will rely

upon the accompanying memorandum of law in support, the Declaration of Don Ruppel, and the

Declaration of Joseph I. Marchese, with annexed exhibits.
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Dated: September 18, 2018
                                         Respectfully submitted,


                                         By:    /s/ Joseph I. Marchese
                                                 Joseph I. Marchese

                                         BURSOR & FISHER, P.A.
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                                         Joseph I. Marchese
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                                         Class Counsel




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